                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                          2021-NCCOA-94

                                           No. COA20-29

                                         Filed 6 April 2021

     Wilkes County, No. 15 JA 200

     IN THE MATTER OF: S.R.J.T.


            Appeal by respondent-mother from orders entered on 17 July 2018 and 27

     September 2019 by Judge David V. Byrd in District Court, Wilkes County. Heard in

     the Court of Appeals 17 November 2020.


            Vannoy, Colvard, Triplett &amp; Vannoy, PLLC, by Daniel S. Johnson, for
            petitioner-appellee Wilkes County Department of Social Services.

            Lisa Anne Wagner for respondent-appellant-mother.


            STROUD, Chief Judge.


¶1          Respondent-Mother appeals from the trial court’s order adjudicating Scottie1

     as a neglected and dependent juvenile and from the trial court’s disposition order

     which ceased reunification efforts and granted guardianship of Scottie to his aunt.

     Because the trial court’s findings support its conclusion that Scottie was neglected,

     we affirm the adjudication order as to neglect, and we affirm in part, reverse in part,




     1 Pseudonyms are used to protect the identity of the juvenile.
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     and remand the disposition order for entry of an order containing findings of fact in

     compliance with North Carolina General Statute § 7B-906.1(n).

                                         I.      Background

¶2          Mother has an extensive history with the Wilkes County Department of Social

     Services (“DSS”), and her parental rights were terminated to two children in 2008

     and 2010. DSS initially removed Scottie and his brother2 in 2015 due to issues of

     domestic violence and substance abuse.              Scottie was adjudicated neglected, and

     Mother previously appealed this order. On 20 June 2017, this Court reversed the

     trial court’s adjudication order in an unpublished opinion. See In re J.L.T. and

     S.R.J.T., 254 N.C. App. 240, 801 S.E.2d 391 (2017) (unpublished).

¶3          On 3 July 2017, DSS filed a new petition alleging Scottie was neglected and

     dependent. An adjudication hearing was held on 18 December 2017. On 17 July 2018

     the trial court entered an adjudication order which declared Scottie to be neglected

     and dependent. Disposition hearings were held on 8 January 2018, 6 March 2018,

     and 21 August 2018. The written disposition order, entered on 27 September 2019,

     ceased reunification efforts, granted guardianship of Scottie to his paternal aunt, and

     suspended visitation and further hearings.                Mother timely appealed from the




     2 Mother has only appealed as to Scottie, and Scottie’s Father is not a party to this appeal.
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     disposition order and petitioned this Court for a writ of certiorari in the event we

     found her notice of appeal to be defective.

                           II.   Petition for Writ of Certiorari

¶4         Mother’s notice of appeal stated, Mother “hereby gives Notice of Appeal to the

     Court of Appeals of North Carolina from the Adjudication Judgment and

     Dispositional Order that was filed on September 27th 2019.”             However, the

     adjudication order was filed on 17 July 2018. Because we can infer from the notice of

     appeal that Mother intended to appeal the both the adjudication and disposition

     orders, in our discretion, we allow her petition as to the disposition order. N.C. R.

     App. P. 21(a)(1).

                                   III.      Adjudication

¶5         Mother argues, “[t]he trial court erred by adjudicating Scottie neglected and

     dependent when the trial court failed to make necessary finding of fact, there is

     insufficient evidence to support the findings of fact the trial court did make, and the

     findings that are supported by the evidence are insufficient to support its conclusions

     of law.”

     A. Standard of Review

                  We review an adjudication under N.C. Gen. Stat. § 7B-807
                  to determine whether the trial court’s findings of fact are
                  supported by clear and convincing competent evidence and
                  whether the court’s findings support its conclusions of law.
                  The clear and convincing standard is greater than the
                  preponderance of the evidence standard required in most
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                  civil cases. Clear and convincing evidence is evidence
                  which should fully convince. . . . [W]e review a trial court’s
                  conclusions of law de novo.

     In re N.K., ___ N.C. App. ___, ___, 851 S.E.2d 389, 392 (2020) (quoting In re M.H., ___

     N.C. App. ___, ___, 845 S.E.2d 908, 911 (2020)). Unchallenged findings are binding

     on appeal. Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729, 731 (1991).

     B. Adjudication of Neglect

¶6         Mother argues, “DSS failed to present any evidence that the children were

     present for, or impacted by, any acts of domestic violence or substance use, or that

     they suffered any physical, mental or emotional impairment as a result.”

¶7         A neglected juvenile is defined as one

                  who does not receive proper care, supervision, or discipline
                  from the juvenile’s parent, guardian, custodian, or
                  caretaker; or who has been abandoned; or who is not
                  provided necessary medical care; or who is not provided
                  necessary remedial care; or who lives in an environment
                  injurious to the juvenile’s welfare[.]

     N.C. Gen. Stat. § 7B-101(15) (2017). “[I]n order for a court to find that the child

     resided in an injurious environment, evidence must show that the environment in

     which the child resided has resulted in harm to the child or a substantial risk of

     harm.” In re K.J.B., 248 N.C. App. 352, 354, 797 S.E.2d 516, 518 (2016). “A trial

     court’s failure to make specific findings regarding a child’s impairment or risk of harm

     will not require reversal where the evidence supports such findings.” Id.                                     IN RE S.R.J.T.

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¶8   Here, the trial court found:

           5. The Respondents have unstable living arrangements
           and maintain a strange, ongoing, and inappropriate
           relationship with one another. [Mother] alternates living
           with [Scottie’s Father] and [Aaron], choosing to stay with
           whichever father has money and drugs to offer to her.

           6. [Mother] and [Scottie’s Father] have failed numerous
           drug screens during the time that the children have been
           in the care of DSS.

           ....

           8. On October 6, 2017, the Respondents submitted to hair
           follicle drug tests and the results were as follows: [Mother]:
           positive for amphetamines and methamphetamine[.]

           9. On October 13, 2017, social worker Carver made a
           surprise visit to [Aaron’s] home. When she arrived, [Aaron]
           was lying on a couch and [Mother] was scurrying around
           the kitchen. [Mother] told social worker Carver that she
           was pouring a beer out. Social worker Carver noticed a
           needle on the kitchen counter, two more needles in the
           sink, a packet of some sort, and a spoon containing a
           burned substance. [Aaron] told the social worker that he
           didn’t know why [Mother] was using the “junk” in his
           home. [Mother] admitted that she was using drugs and
           that she was depressed since her children had not been at
           home.

           ....

           13 Since the children have been in the care of DSS, . . . .
           [Scottie] has been diagnosed with post-traumatic stress
           disorder.

           15. [Scottie] receives counseling from Brooke Gregory at
           Kids Count Pediatrics. Therapist Gregory was duly
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                  qualified as an expert witness and provided the following
                  opinions regarding [Scottie]:
                         (a) He suffers from post-traumatic stress
                         disorder as a result of matters he witnessed
                         while in the care of [Mother] and [Scottie’s
                         Father], including drug use, domestic
                         violence, and his mother moving back and
                         forth between [Scottie’s Father] and [Aaron];
                         (b) He regressed in treatment following visits
                         with his parents. Interaction with his parents
                         increased his behaviors of acting out, not
                         listening, and oppositional defiance;
                         (c) He experienced nightmares of being left
                         alone and someone cutting his head off after
                         contact with his parents;
                         (d) He was exposed to sexual behavior during
                         the time that he was with his parents. He has
                         talked to other children about sexual behavior
                         and engaged in sexualized conduct; and
                         (e) It is not in the best interests for [Scottie]
                         to have visitation with his biological parents.

     And the trial court concluded:

                  3. With regard to neglect, each child would be placed at a
                  serious risk of impairment in the event that they were
                  placed with their parents due to the parents’ ongoing drug
                  abuse and their unstable living arrangements. Each of the
                  children would be placed at substantial risk of physical,
                  mental, and emotional impairment in the event that they
                  were returned to their parents.

        1. Finding of Fact No. 15

¶9         Mother raises several arguments regarding Finding of Fact No. 15. Mother

     argues that portions of finding of fact 15(a) and (e) are conclusions of law and should

     be reviewed de novo. We disagree. First, we note that Finding No. 15 is phrased as
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       a recitation of testimony as to facts about the juvenile since it specifically lists the

       observations and opinions of Therapist Gregory. See In re L.C., 253 N.C. App. 67, 70,

       800 S.E.2d 82, 86 (2017).         Although recitations of evidence may not allow for

       appropriate appellate review where the trial court fails to make findings

       demonstrating if it found the evidence to be credible, id., when we consider Finding

       No. 15 in the context of the entire order, the trial court did determine the evidence to

       be credible and this finding is supported by the evidence. To the extent that Finding

       15(e) is a finding of fact and not a recitation of testimony, we review the trial court’s

       determination of whether visitation is in the best interest of the juvenile for abuse of

       discretion. In re C.M., 183 N.C. App. 207, 215, 644 S.E.2d 588, 595 (2007) (“This

       Court reviews the trial court’s dispositional orders of visitation for an abuse of

       discretion.”).

¶ 10          Mother also contends Finding 15(d) is not supported by the evidence. Ms.

       Gregory testified about the reasons she saw Scottie:

                        Q. Why did you begin work counseling with [Scottie]?

                        A. He was referred to my case load due to family
                        circumstances where he was removed from his family and
                        lives with [his Aunt]. There’s a pretty significant neglect
                        and abuse history there, so he has post-traumatic stress
                        disorder.

                        Q. When did you diagnose [Scottie] with post-traumatic
                        stress disorder?
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            A. On 6/14/16.

            Q. And it’s your opinion that that stress disorder resulted
            from abuse and the circumstances that he encountered in
            his parents home?

            A. Yes, sir.

            Q. How did you arrive at that diagnosis?

            A. Well, there are several criteria you need in order to get
            diagnosed with post-traumatic stress disorder. [Scottie]
            exhibits mood changes, anxiety, sleep disturbances, eating
            disturbances, attachment issues, and [Scottie] qualifies for
            all of those.

            ....

            Q. Now, has [Scottie] indicated to you during counseling
            sessions that he had witnessed his parents using illegal
            drugs?

            A. Yes.

            Q. What did he tell you about seeing his parents use illegal
            drugs?

            A. He has talked about seeing needles. There’s an actual
            quote here in the letter from July 19th, 2017 that I
            provided for Department of Social Services. “My parents
            will never get me back because they do drugs. They take a
            shot every day. I have seen them. They put medicine in
            their arm with a shot.”

Ms. Gregory testified, “There has been some sexualized behavior after he has

interacted with his parents that comes out in session. I don’t have enough to pursue
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       that at this moment[.]” On cross examination, Ms. Gregory stated, “I’m not sure

       where the sexualized behavior has come from.”

¶ 11         The portion of the finding of fact 15(d) about exposure to sexual behavior

       “during the time that he was with his parents” is not supported by clear and

       convincing evidence. The rest of the challenged portions of Finding No. 15 are

       supported by clear and convincing evidence which support the trial court’s conclusion

       that Scottie was a neglected juvenile. In re N.G., 186 N.C. App. at 12-13, 650 S.E.2d

       at 52. In addition, these findings, considered along with the other unchallenged

       findings regarding drug abuse and domestic violence in the home, Scottie’s regression

       after visitation with the parents, and the diagnosis of post-traumatic stress disorder

       demonstrate that “the environment in which the child resided has resulted in harm

       to the child or a substantial risk of harm.” In re K.J.B., 248 N.C. App. at 354, 797

       S.E.2d at 518. We affirm the trial court’s adjudication of neglect on this basis and

       need not address the other adjudicatory grounds in the court’s order. See In re F.C.D.,

       244 N.C. App. 243, 250, 780 S.E.2d 214, 220 (2015) (“Because this ground standing

       alone is sufficient to support the adjudication of abuse, we need not address the trial

       court’s two other grounds for adjudicating . . . an abused juvenile.”).

                                   IV.    Disposition Order

¶ 12         Mother argues, “[t]he trial court reversibly erred and abused its discretion by

       ceasing reunification, granting guardianship of Scottie to his paternal aunt at the
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       initial disposition, and waiving review hearings without making statutorily required

       findings.”

       A.    Standard of Review

¶ 13         “This Court reviews an order that ceases reunification efforts to determine

       whether the trial court made appropriate findings, whether the findings are based

       upon credible evidence, whether the findings of fact support the trial court’s

       conclusions, and whether the trial court abused its discretion with respect to

       disposition.” In re C.M., 183 N.C. App. at 213, 644 S.E.2d at 594. “An abuse of

       discretion occurs when a trial court’s ruling is so arbitrary that it could not have been

       the result of a reasoned decision.” Id. This Court “review[s] statutory compliance de

       novo.” In re N.K., ___ N.C. App. at ___, 851 S.E.2d at 395.”

       B.    Reunification

¶ 14         “Reunification shall remain a primary or secondary plan unless the court made

       findings under G.S. 7B-901(c) or makes written findings that reunification efforts

       clearly would be unsuccessful or would be inconsistent with the juvenile’s health or

       safety.” N.C. Gen. Stat. § 7B-906.2(b) (2017).

                    At any permanency hearing . . . the trial court shall make
                    written findings as to each of the following, which shall
                    demonstrate lack of success:
                          (1) Whether the parent is making adequate
                          progress within a reasonable period of time
                          under the plan.
                          (2) Whether the parent is actively
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                             participating in or cooperating with the plan,
                             the department, and the guardian ad litem for
                             the juvenile.
                             (3) Whether the parent remains available to
                             the court, the department, and the guardian
                             ad litem for the juvenile.
                             (4) Whether the parent is acting in a manner
                             inconsistent with the health and safety of the
                             juvenile.

       N.C. Gen. Stat. § 7B-906.2(d) (2017).

                    Although “use of the actual statutory language [is] the best
                    practice, the statute does not demand a verbatim recitation
                    of its language.” Instead, “the order must make clear that
                    the trial court considered the evidence in light of whether
                    reunification would be futile or would be inconsistent with
                    the juvenile’s health, safety, and need for a safe,
                    permanent home within a reasonable period of time.”

       In re L.E.W., 375 N.C. 124, 129-30, 846 S.E.2d 460, 465 (2020) (alteration in original)

       (citation omitted).

¶ 15         Here, the trial court found as following regarding Scottie:

                    1. The status of the above-named minor children is
                    accurately described in the Court Summaries and Reports
                    prepared by DSS and the GAL which were introduced into
                    evidence for purposes of disposition in these matters and
                    are incorporated herein by reference as Findings of Fact.

                    2, The children have been declared neglected and
                    dependent juveniles as those terms are defined by N.C.G.S.
                    § 7B-101.

                    3. The children have not been in the custody of their
                    parents since the fall of 2015. It would be contrary to the
                    children’s health and safety to be returned to the home of
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a parent as a result of their special needs and the
instability of their parents.

4. There are no issues regarding paternity of the children.
...

5. The Court has considered the requirements of N.C.G.S.
§ 7B-901(c) and finds that DSS should not be required to
utilize reasonable efforts to reunify the children with a
parent. [Mother] and [Scottie’s Father] have had their
parental rights terminated involuntarily to other children.
Each of these parents have a significant history of
substance abuse and their living arrangements are not
suitable. . . .

6. [Scottie] has been placed in the care of his paternal aunt,
[Rebecca], since April 2016. He has been diagnosed with
post-traumatic stress disorder from exposure to domestic
violence, abuse, and his parents’ substance abuse which he
witnessed while in the care of his parents. He displays
anxiety, mood changes, sleep and eating disorders, and
attachment issues. He is fearful of being removed from his
aunt. [Scottie] receives counseling from therapist Brooke
Gregory at Kids Count Pediatrics. Visitation between
[Scottie] and his parents was ceased at the
recommendation of therapist Gregory. [Scottie] has told
the GAL’s office that he does not want to live with his
parents.

....

8. [Rebecca] has the financial means and capability to care
for [Scottie]. She has provided care solely for the child with
no assistance from his parents for over two years. [Rebecca]
understands the legal significance of the appointment and
has adequate resources to care appropriately for the child.
[Scottie] is bonded to his aunt.

9. The children are not members of a state or federally
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             recognized Indian tribe.

The trial court concluded:

             1. The Court has jurisdiction of the subject matter and the
             parties.

             2. DSS made reasonable efforts to prevent or eliminate the
             need for placement of the minor children; however, these
             efforts were not effective in light of the parents’ histories of
             drug abuse, instability, and incarceration. DSS . . . placed
             [Scottie] in the care of a paternal relative.

             3. The best interests of the minor children would be best
             served by the disposition set forth in the Decree below. DSS
             shall not be required to utilize reasonable efforts to reunify
             either child with a parent.

             4. Any Finding of Fact that is a more appropriate
             Conclusion of Law is incorporated herein by reference.

                   Based upon the foregoing Findings of Fact and
             Conclusions of Law, it is ORDERED, ADJUDGED, AND
             DECREED that:

             ....

             3. [Rebecca] is appointed as guardian of the person of
             [Scottie] pursuant to N.C.G.S. § 7B-600. No accountings or
             bond shall be required. No further review hearings shall
             be required concerning this child. Neither of [Scottie’s]
             parents shall have any visitation unless the same is
             approved by the Court.

These findings make it clear that the trial court “considered the evidence in light of

whether reunification would be futile or would be inconsistent with the juvenile’s

health, safety, and need for a safe, permanent home within a reasonable period of
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       time.” Id. at 129-30, 846 S.E.2d at 465. In addition, the trial court did not abuse its

       discretion by ceasing reunification efforts based upon these findings.

       C.    Guardianship

¶ 16         Mother argues, “[t]he trial court reversibly erred by failing to make necessary

       findings of fact to support its order granting guardianship of Scottie to [Rebecca].”

       Mother argues the trial court did not make a finding that her conduct was

       inconsistent with her constitutionally protected status as a parent and she had

       “participated in a substance abuse assessment and begun receiving [substance abuse]

       treatment, had consistently been providing clean drug screens . . . had inquired of

       DSS what she could provide for Scottie’s needs, and was on waiting lists for housing

       of her own.” DSS argues that Mother did not raise this constitutional issue at trial

       and should not be considered for the first time on appeal.

                           “‘[P]arents have a constitutionally protected right to
                    the custody, care and control of their child, absent a
                    showing of unfitness to care for the child.’” “[A] parent may
                    lose the constitutionally protected paramount right to child
                    custody if the parent’s conduct is inconsistent with this
                    presumption or if the parent fails to shoulder the
                    responsibilities that are attendant to rearing a child.”
                    Prior to granting guardianship of a child to a nonparent, a
                    district court must “clearly address whether [the]
                    respondent is unfit as a parent or if [his] conduct has been
                    inconsistent with [his] constitutionally protected status as
                    a parent[.]” “[A] trial court’s determination that a parent’s
                    conduct is inconsistent with his or her constitutionally
                    protected status must be supported by clear and convincing
                    evidence.”
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       In re R.P., 252 N.C. App. 301, 304, 798 S.E.2d 428, 430 (2017) (alterations in original)

       (citations omitted).

¶ 17         This Court has held that where a parent is on notice that guardianship with a

       third party has been recommended and will be determined at the hearing, if the

       parent fails to raise this argument at the hearing, appellate review of the

       constitutional issue is waived:

                           “[T]o apply the best interest of the child test in a
                    custody dispute between a parent and a non-parent, a trial
                    court must find that the natural parent is unfit or that . . .
                    her conduct is inconsistent with a parent’s constitutionally
                    protected status.” This finding should be made when the
                    court is considering whether to award guardianship to a
                    non-parent. To preserve the issue for appellate review, the
                    parent must raise it in the court below. However, for
                    waiver to occur the parent must have been afforded the
                    opportunity to object or raise the issue at the hearing.
                    Here, although counsel had ample notice that
                    guardianship . . . was being recommended, Respondent-
                    mother never argued to the court or otherwise raised the
                    issue that guardianship would be an inappropriate
                    disposition on a constitutional basis.        We conclude
                    Respondent-mother waived appellate review of this issue.

       In re C.P., 258 N.C. App. 241, 246, 812 S.E.2d 188, 192 (2018) (first alteration in

       original) (citations omitted).

¶ 18         Here, Mother was on notice of the recommendations of both DSS and the GAL

       of guardianship or custody to be granted to the juvenile’s aunt. The Court Report and

       GAL’s reports prior to the last hearing recommended this plan. Mother did not
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       appear for the hearing and did not present any evidence opposing the

       recommendation of guardianship. Mother did not make any argument regarding her

       constitutional rights and did not make any argument against guardianship on this or

       any other basis.    Instead, her counsel’s argument to the trial court addressed

       primarily visitation, as he asked the trial court to maintain Mother’s visitation along

       with drug testing. This argument is overruled.

       D.    Waiving Further Review Hearings

¶ 19         Mother argues, “[t]he trial court did not make adequate findings to support its

       decision to waive further review hearings.” North Carolina General Statute § 7B-

       906.1(n) requires the trial court to make the following findings before having review

       hearings less often than every six months:

                    (1) The juvenile has resided in the placement for a period
                    of at least one year or the juvenile has resided in the
                    placement for at least six consecutive months and the court
                    enters a consent order pursuant to G.S. 7B-801(b1).
                    (2) The placement is stable and continuation of the
                    placement is in the juvenile’s best interests.
                    (3) Neither the juvenile’s best interests nor the rights of
                    any party require that review hearings be held every six
                    months.
                    (4) All parties are aware that the matter may be brought
                    before the court for review at any time by the filing of a
                    motion for review or on the court’s own motion.
                    (5) The court order has designated the relative or other
                    suitable person as the juvenile’s permanent custodian or
                    guardian of the person.

       N.C. Gen. Stat. § 7B-906.1(n) (2019).
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                       This Court has held that the trial court must make written
                       findings of fact satisfying each of the above criteria in its
                       order. An order which fails to address all of the criteria
                       will be reversed and remanded for entry of an order
                       containing findings of fact in compliance with N.C. Gen.
                       Stat. § 7B-906(b).

       In re M.M., 230 N.C. App. 225, 239, 750 S.E.2d 50, 59 (2013) (citation omitted). The

       trial court’s disposition order, quoted above, is silent as to the third and fourth criteria

       listed above.     Accordingly, we reverse this portion of the order and remand for

       additional findings regarding review hearings.

                                          V.     Conclusion

¶ 20          We affirm the adjudication order as to Scottie being a neglected juvenile. We

       affirm the disposition order in part and reverse and remand in part. In particular,

       we reverse the provisions of the disposition order waiving review hearings and

       remand for entry of an order containing findings of fact in compliance with North

       Carolina General Statute § 7B-906.1(n).

              AFFIRMED IN PART; REVERSED IN PART AND REMANDED.

              Judge HAMPSON concurs.

              Judge TYSON concurs in part and dissents in part with separate opinion.
        No. COA20-29 – In re S.R.J.T.


             TYSON, Judge, concurring in part, dissenting in part.


¶ 21         I concur with the majority’s opinion holding that both the adjudication and

       disposition orders are properly before this Court. I also concur with the majority’s

       conclusion that the portion of finding of fact 15(d) about Scottie’s purported exposure

       to sexual behavior “during the time that he was with his parents” is not supported by

       clear and convincing evidence. The majority also correctly concludes the trial court’s

       disposition order is silent, does not address the third and fourth statutory criteria,

       and it must be reversed and remanded for additional findings regarding review

       hearings.

¶ 22         The majority’s opinion sets forth the proper standard of review, but it applies

       the incorrect “best interests” standard of appellate review to the adjudication order

       instead of the disposition.    Further, the trial court erroneously and unlawfully

       delegated the availability and timing of a parent’s visitation with a child to a

       therapist. Reunification of a child with parents cannot be ceased as a planned and

       statutorily mandated goal prior to the trial court’s threshold findings and conclusions

       of parental unfitness or conduct inconsistent with their parental rights. These errors

       are prejudicial to warrant reversal. I respectfully dissent.

                                          I.    Adjudication

                                     A.        Standard of Review

¶ 23         The majority’s opinion properly states the proper appellate standard of review

       for an appeal of an order of adjudication.         This Court reviews a trial court’s
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                              Tyson, J., concurring in part, dissenting in part



       adjudication of a child to be a neglected juvenile to determine whether the findings of

       fact are supported by clear and convincing evidence, and whether the conclusions are

       supported by the findings of fact. In re Gleisner, 141 N.C. App. 475, 480, 539 S.E.2d

       362, 365 (2000) (citations omitted).         “The trial court’s conclusions of law are

       reviewable de novo on appeal.” In re K.J.D., 203 N.C. App. 653, 657, 692 S.E.2d 437,

       441 (2010) (citation omitted).

¶ 24         “A trial court must determine by clear and convincing evidence that a parent’s

       conduct is inconsistent with his or her protected status.” Weideman v. Shelton, 247

       N.C. App. 875, 880, 787 S.E.2d 412, 417 (2016) (citations and internal quotation

       marks omitted).     The determination of parental unfitness or whether parental

       conduct is inconsistent with the parents’ constitutionally protected status is reviewed

       de novo. In re D.A., 258 N.C. App. 247, 249, 811 S.E.2d 729, 731 (2018).

¶ 25         The majority’s opinion recites the proper standard of review, reviews and

       concludes the findings of fact are insufficient, but then applies the wrong standard of

       review to the orders. Regarding testimony given by Brooke Gregory, the expert

       witness and Scottie’s therapist, the majority’s opinion states: “To the extent that

       Finding 15(e) is a finding of fact and not a recitation of testimony, we review the trial

       court’s determination of whether visitation is in the best interest of the juvenile for

       abuse of discretion.” This assertion is erroneous.

¶ 26         Findings of fact must be supported by clear and convincing evidence to support
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       a statutory conclusion of parental abuse, neglect, or dependency before we review the

       trial court’s “best interests” determination of disposition for an abuse of discretion.

       The testimony of the therapist may be relevant, but clear and convincing evidence

       must support findings and conclusions of unfitness or conduct inconsistent with

       parental rights to deny a parent’s care, custody, and control with her child. See N.C.

       Gen. Stat. § 8C-1, Rule 401 (2019); In re J.C.-B., __ N.C. App. __, 2021-NCCOA-65,

       __ S.E.2d __ (2021); In re J.M., N.M., __ N.C. App. __, 2021-NCCOA-__, __ S.E.2d __

       (2021); In re N.T., A.T. __ N.C. App. __, 2021-NCCOA-50, __ S.E.2d __, 2021 WL

       795438 (2021) (unpublished). Since this finding is threshold and jurisdictional for

       the State to inject itself into the constitutionally protected status and relationship

       between a parent and child, the failure of the trial court to so find is not waived by

       the parents’ failure to expressly assert it. Id.
                                   B. Neglect and Dependency

¶ 27         A neglected juvenile is defined as a child “whose parent, guardian, custodian,

       or caretaker does not provide proper care, supervision, or discipline; or who has been

       abandoned; or who is not provided necessary medical care; or who is not provided

       necessary remedial care; or who lives in an environment injurious to the juvenile's

       welfare[.]” N.C. Gen. Stat. § 7B-101(15) (2019). Notwithstanding the many errors

       and deficiencies in the order, as is correctly pointed out in the majority’s opinion, the

       majority concludes sufficient evidence shows Scottie is neglected. The majority’s
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       opinion fails to address the unsupported finding and erroneous conclusion that

       Scottie is also dependent.

¶ 28         A dependent juvenile is “in need of assistance or placement because (i) the

       juvenile has no parent, guardian, or custodian responsible for the juvenile’s care or

       supervision or (ii) the juvenile’s parent, guardian, or custodian is unable to provide

       for the juvenile’s care or supervision and lacks an appropriate alternative childcare

       arrangement.” N.C. Gen. Stat. § 7B-101(9) (2019). The trial court’s dependency

       adjudication is also unsupported by findings of fact based upon clear and convincing

       evidence and is properly reversed. Id.

                                     2.      Scottie’s Therapist

¶ 29         At the time of trial, Ms. Gregory, a therapist, had been meeting with Scottie

       twice a month for 18 months. She testified Scottie suffered with PTSD from abuse,

       based upon some of Scottie’s observed behaviors. The trial court considered her

       testimony as an expert witness.

                    If scientific, technical or other specialized knowledge will
                    assist the trier of fact to understand the evidence or to
                    determine a fact in issue, a witness qualified as an expert
                    by knowledge, skill, experience, training, or education, may
                    testify thereto in the form of an opinion, or otherwise, if all
                    of the following apply: (1) The testimony is based upon
                    sufficient facts or data. (2) The testimony is the product of
                    reliable principles and methods. (3) The witness has
                    applied the principles and methods reliably to the facts of
                    the case.
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       N.C. Gen. Stat. § 8C-1, Rule 702 (2019).

¶ 30         Ms. Gregory failed to explain either the correlation or to establish any

       causation between purported acts of parental neglect or dependency of Scottie and

       his PTSD diagnosis, nor provided any methods or psychoanalysis consistently

       supplied to support that conclusion.

¶ 31         After a year of meeting with Scottie, Ms. Gregory asserted he should not visit

       his parents because his nightmares purportedly increase when he interacts with

       them. Scottie has also told his therapist that he has seen drug paraphernalia in his

       home, and he likes to live with his aunt. Finally, the therapist testified about Scottie’s

       sexualized behaviors because Scottie talked about sex and may have pulled down

       either his or another child’s pants. Ms. Gregory admitted she does not know enough

       about that conduct to form an opinion of its origin or cause. No allegations of sexual

       exposure or abuse of Scottie by his parents are asserted or shown. We all agree part

       of finding of fact 15(d), Scottie’s alleged exposure to sexual behavior “during the time

       that he was with his parents,” is not supported by clear and convincing evidence and

       is erroneous.

¶ 32         Insufficient evidence supports the trial court’s findings of fact. The findings

       are insufficient to support its conclusions of law. A trial court cannot find, adjudicate,

       and conclude a child is neglected or dependent without clear and convincing evidence

       to support the findings and the consequent conclusions. See In re Gleisner, 141 N.C.
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       App. at 480, 539 S.E.2d at 365. The orders are properly reversed.

                                        3.      DSS’ Evidence

¶ 33         Evidence and testimony offered by DSS during trial relied heavily upon

       Mother’s alleged previous drug use. The last report DSS offered of purported drug

       use was dated over five months prior to the adjudication hearing.

¶ 34         The trial court concludes:

                    3. With regard to neglect, each child would be placed at a
                    serious risk of impairment in the event that they were
                    placed with their parents due to the parents’ ongoing drug
                    abuse and their unstable living arrangements. Each of the
                    children would be placed at substantial risk of physical,
                    mental, and emotional impairment in the event that they
                    were returned to their parents.

¶ 35         Here, as we all agree, the trial court’s order merely repeated allegations and

       testimony of the DSS social worker and Scottie’s therapist, without engaging in the

       required judicial process of reconciling and adjudicating conflicts in the evidence.

       “Effective appellate review of an order entered by a trial court sitting without a jury

       is largely dependent upon the specificity by which the order’s rationale is articulated.”

       Coble v. Coble, 300 N.C. 708, 714, 268 S.E.2d 185, 190 (1980) (holding each step in

       the logical sequence must be taken by the trial judge, “evidence must support

       findings; findings must support conclusions; conclusions support the judgment”).

       “Where there is a gap, it cannot be determined on appeal whether the trial court

       correctly exercised its function to find the facts and apply the law[.]” Id.                                               IN RE S.R.J.T.

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¶ 36         No clear and convincing evidence supported an adjudication of current neglect

       or dependency outside of generalized assertions. Id. No evidence tends to show

       Scottie has been injured or was at risk of injury in his home environment at the time

       of the adjudication hearing.

                                         II.     Disposition

                                      A. Ceasing Reunification

¶ 37         Our General Statutes mandate: “Reunification shall be a primary or secondary

       plan unless the court made findings under G.S. 7B-901(c) or G.S. 7B-906.1(d)(3)

       . . . or the court makes written findings that reunification efforts clearly would be

       unsuccessful or would be inconsistent with the juvenile’s health or safety.” N.C. Gen.

       Stat. § 7B-906.2(b) (2019) (emphasis supplied).                The court shall not cease

       reunification efforts without supported findings of fact and conclusions of law which

       state continued efforts would be unsuccessful or inconsistent with the children’s

       health or safety. See In re P.T.W., 205 N.C. App. 589, 595, 794 S.E.2d 843, 848 (2016);

       In re D.A., 258 N.C. App. at 253, 811 S.E.2d at 733-34.

¶ 38         Mother asserts the trial court erred and abused its discretion by ceasing

       reunification efforts without making statutorily required findings of fact.         The

       majority’s opinion states that the court’s findings make it clear it considered the

       evidence in light of whether reunification would be futile or inconsistent with the

       juvenile’s health and safety. However, as the trial court points out, Scottie has not
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       been in the custody of Mother since 2015. The court cites Mother’s alleged and past

       history of substance abuse and the unsupported history of Scottie’s PTSD.

¶ 39         The trial court’s order fails to apply the mandatory standard, and its failure

       infringes upon the constitutional rights of the parents to the care, custody and control

       of their children. See In re R.P., 252 N.C. App. 301, 304, 798 S.E.2d 428, 430 (2017)

       (holding a parent has a constitutional right to the care for their children absent a

       showing of unfitness). The order does not show the court concluded reunification with

       Mother would be futile or inconsistent with Scott’s health, safety, and need for a

       permanent home within a reasonable period of time from the date of this adjudication

       to comply with the statute. In re D.A., 258 N.C. App. at 253, 811 S.E.2d at 733-34.

¶ 40         The trial court failed to make the constitutionally and statutorily required

       findings to cease visitation and reunification efforts. In re R.P., 252 N.C. App. at 304,

       798 S.E.2d at 430. These conclusions are properly vacated.

                                           B. Guardianship

¶ 41         Mother argues the trial court reversibly erred by failing to make necessary

       findings of fact to support the order to grant custody to a third-party.

                    Parents have a constitutionally protected right to the
                    custody, care and control of their child, absent a showing of
                    unfitness to care for the child. A parent may lose the
                    constitutionally protected paramount right to child custody
                    if the parent’s conduct is inconsistent with this
                    presumption or if the parent fails to shoulder the
                    responsibilities that are attendant to rearing a child. Prior
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                    to granting guardianship of a child to a nonparent, a
                    district court must clearly address whether the respondent
                    is unfit as a parent or if his conduct has been inconsistent
                    with his constitutionally protected status as a parent. A
                    trial court’s determination that a parent’s conduct is
                    inconsistent with his or her constitutionally protected status
                    must be supported by clear and convincing evidence.

       Id. at 304, 798 S.E.2d at 430 (emphasis supplied) (alterations, citations and internal

       quotation marks omitted).

¶ 42         N.C. Gen. Stat. § 7B-600(a) provides “when the court finds it would be in the

       best interests of the juvenile, the court may appoint a guardian of the person for the

       juvenile.” N.C. Gen. Stat. § 7B-600(a) (2019).

¶ 43         Prior to moving to and engaging in any “best interests” analysis, a trial court

       must have previously found “the natural parent is unfit or that his or her conduct is

       inconsistent with a parent’s constitutionally protected status.” In re J.H., 244 N.C.

       App. 255, 272, 780 S.E.2d 228, 241 (2015) (citations omitted); In re J.C.-B., ___ N.C.

       App. at ___, 2021 NCCOA-65, ¶17, __ S.E.2d at __; In re N.T., A.T. 2021-NCCOA-50,

       ¶7, 2021 WL 795438, at *2.

¶ 44         This Court reviews an order “that ceases reunification efforts to determine

       whether the trial court made appropriate findings, whether the findings are based

       upon credible evidence, whether the findings of fact support the trial court’s

       conclusions, and whether the trial court abused its discretion with respect to

       disposition.” In re D.A., 258 N.C. App. at 249, 811 S.E.2d at 731 (citation omitted).
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¶ 45         The majority’s opinion asserts Mother did not appear for the dispositional

       hearing. This assertion is not consistent with the record. Mother was present in

       court for the hearing on 21 August until 12:15 p.m. Mother had to report to work by

       1:00 p.m. to maintain her employment, as is required under her plan, and this case

       was not called until 4:00 p.m. Her attorney remained present and addressed the

       court on her behalf.

¶ 46         The majority’s opinion also asserts Mother did not make any argument against

       guardianship.    Mother produced evidence that she had: (1) participated in a

       substance abuse assessment; (2) received substance abuse treatment; (3) consistently

       provided clean drug screens; (4) exercised visitation with her other child; (5) attained

       and maintained employment; (6) paid child support for her other child; and, (7)

       provided clothing and other items for her children.

¶ 47         Finally, the majority’s opinion asserts Mother did not make an argument

       regarding her constitutional parental rights. Mother’s counsel argued her case had

       already been sent back from this Court previously, referring to this Court’s reversal

       of the earlier adjudication for lack of clear and convincing evidence to support findings

       of neglect and dependency. See In re J.L.T., 254 N.C. App. 240, 801 S.E.2d 391, 2017

       WL 2644127 at *6 (2017) (unpublished).

¶ 48         Mother’s counsel continued, “I would ask the [c]ourt not to change the plans

       for [Scottie], leave it reunification (sic) without something more recent to start the
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       visits.” Counsel referred to DSS having produced no new evidence in the more than

       eight months since the adjudication hearing, implying this case lacked the required

       evidence, as this Court concluded the earlier order had, and reunification should

       remain the primary plan. An argument for or to continue reunification is an assertion

       to uphold the Mother’s constitutional right to custody and care of her child. See In re

       P.T.W., 205 N.C. App. at 595, 794 S.E.2d at 849; In re D.A., 258 N.C. App at 253, 811

       S.E.2d at 733-34.

¶ 49         DSS reported her visits with her other child were going well. She inquired of

       DSS how she could provide for Scottie’s needs. She has applied for and has been

       placed on waiting lists for her own housing.

¶ 50         The 27 September 2019 dispositional order does not contain any findings of

       fact or conclusions of law that Mother is unfit or that her conduct is inconsistent with

       her constitutionally protected status as a parent. See id. Further, the findings

       supporting Ms. Gregory’s recommendation were more than eight months old at the

       time of the disposition hearing. No clear and convincing or timely evidence supports

       such findings. Further, the trial court’s order contains no findings and ignores

       Mother’s efforts and accomplishments to comply with her case plan. See Coble, 300

       N.C. at 714, 268 S.E.2d at 190.

¶ 51         The majority’s opinion correctly recognizes the foundational parental rights to

       the care, custody, and control of their children, but errs in affirming the trial court’s
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       decision to cease reunification and award custody to a third-party without proof of

       either unfitness or conduct inconsistent with being a parent. The trial court failed to

       make the statutorily required findings to support its grant of guardianship. The

       findings do not support such conclusion. The order is properly vacated and remanded.

       See In re J.H., 244 N.C. App. at 272, 780 S.E.2d at 241.

                        III.    Waiver of Further Review Hearings

¶ 52         The disposition order provides “No further review hearings shall be required

       concerning [Scottie].” Mother correctly argues the trial court failed to make the

       statutorily required findings to support waiver of future review hearing.

¶ 53         N.C. Gen. Stat. § 7B-906.1 mandates a trial court to make all five of the

       following enumerated findings of fact supported by clear, cogent, and convincing

       evidence before future review hearings may be waived.

                    (1) The juvenile has resided in the placement for a period
                    of at least one year or the juvenile has resided in the
                    placement for at least six consecutive months and the court
                    enters a consent order pursuant to G.S. 7B-801(b1).

                    (2) The placement is stable and continuation of the
                    placement is in the juvenile’s best interests.

                    (3) Neither the juvenile’s best interests nor the rights of
                    any party require that review hearings be held every six
                    months.

                    (4) All parties are aware that the matter may be brought
                    before the court for review at any time by the filing of a
                    motion for review or on the court’s own motion.
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                    (5) The court order has designated the relative or other
                    suitable person as the juvenile’s permanent custodian or
                    guardian of the person.

       N.C. Gen. Stat. § 7B-906.1(n) (2019).

¶ 54         “The trial court must make written findings of fact satisfying each of the

       enumerated criteria listed in N.C. Gen. Stat. § 7B-906.1(n) [and its] failure to do so

       constitutes reversible error.” In re P.A., 241 N.C. App. 53, 66, 772 S.E.2d 240, 249

       (2015) (citation omitted). This Court has previously held that strict compliance with

       these statutory provisions is mandatory before a trial court may discontinue and

       waive review hearings. In re K.L., 254 N.C. App. 269, 284, 802 S.E.2d 588, 598 (2017).

¶ 55         Mother argues the trial court only addressed: (1) Scottie’s placement is in the

       care of his aunt for more than a year; and, (5) Scottie’s guardian is a relative. I concur

       with the majority’s opinion that the trial court failed to address N.C. Gen. Stat. § 7B-

       906.1(n) prongs (3) and (4). The trial court failed to make the required findings to

       support waiver of further review hearings. The proper mandate in the absence of the

       required findings is to vacate and remand. See id.

                                        IV.     Conclusion

¶ 56         I concur with the majority’s opinion that both issues of adjudication and

       disposition are properly before this Court. I also concur with the majority’s conclusion

       finding of fact 15(d) about Scottie’s purported exposure to sexual behavior “during the

       time that he was with his parents” is not supported by clear and convincing evidence,
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       and the trial court’s disposition order is silent on the third and fourth statutory

       criteria and must be vacated and remanded for additional findings regarding review

       hearings.

¶ 57         The trial court failed to make the threshold conclusion of unfitness or conduct

       inconsistent with parental rights to cease reunification. Further, the trial court failed

       to find clear and convincing evidence to support the findings and conclusions for

       adjudication, prior to proceeding to any “best interests” analysis in disposition.

¶ 58         The trial court failed to comply with the statute’s mandatory findings of all

       factors to grant guardianship to a third-party. The orders are properly vacated and

       remanded. I respectfully concur in part and dissent in part.
